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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,                CR. NO. 2:08-376 WBS
13                 Plaintiff,                 ORDER RE: MOTIONS FOR AQUITTAL
                                              AND NEW TRIAL
14        v.
15   LEONARD WILLIAMS,
16                 Defendant.
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18                                 ----oo0oo----
19              After a six-day trial, the jury found defendant Leonard

20   Williams guilty of conspiracy to commit mail fraud or wire fraud

21   in violation of 18 U.S.C. § 1349 (Count One) and money laundering

22   in violation of § 1957 (Counts Two and Three).         (Docket No. 557.)

23   Defendant now renews his motion for a judgment of acquittal under

24   Federal Rule of Criminal Procedure 29(c) and moves for a new

25   trial under Rule 33.

26              Rule 29 provides that “the court on the defendant’s

27   motion must enter a judgment of acquittal of any offense for

28   which the evidence is insufficient to sustain a conviction.”
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1    Fed. R. Crim. P. 29(a).      “A motion for Judgment of Acquittal is

2    reviewed on a sufficiency-of-the-evidence standard.”          United

3    States v. Graf, 610 F.3d 1148, 1166 (9th Cir. 2010) (quoting

4    United States v. Stoddard, 150 F.3d 1140, 1144 (9th Cir. 1998)).

5    “Under that standard, evidence supports a conviction, if, viewed

6    in the light most favorable to the government, it would allow any

7    rational trier of fact to find the essential elements of the

8    crime beyond a reasonable doubt.”        Id. (quoting Stoddard, 150

9    F.3d at 1144).    “In ruling on a Rule 29(c) motion, a district

10   court must bear in mind that ‘it is the exclusive function of the

11   jury to determine the credibility of witnesses, resolve

12   evidentiary conflicts, and draw reasonable inferences from proven

13   facts.’”   United States v. Rojas, 554 F.2d 938, 943 (9th Cir.

14   1977) (quoting United States v. Nelson, 419 F.2d 1237, 1241 (9th

15   Cir. 1969)).

16              “‘If the court concludes that, despite the abstract

17   sufficiency of the evidence to sustain the verdict, the evidence

18   preponderates sufficiently heavily against the verdict that a

19   serious miscarriage of justice may have occurred, it may set

20   aside the verdict, grant a new trial, and submit the issues for
21   determination by another jury.’”         United States v. Kellington,

22   217 F.3d 1084, 1097 (9th Cir. 2000) (quoting United States v.

23   Lincoln, 630 F.2d 1313, 1319 (8th Cir. 1980)).         In evaluating a

24   motion for a new trial under Rule 33, “[t]he court is not obliged

25   to view the evidence in the light most favorable to the verdict,

26   and it is free to weigh the evidence and evaluate for itself the
27   credibility of the witnesses.”       Id.

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1               The evidence against the defendant in this case,

2    including the evidence of materiality, was overwhelming.            As the

3    court instructed the jury, “statements made or facts omitted

4    pursuant to the scheme are material if they had a natural

5    tendency to influence, or were capable of influencing, the

6    decisionmaking body to which they were addressed to part with

7    money or property.”     (Docket No. 556.)     Numerous lender witnesses

8    repeatedly testified about the significance of fraudulent

9    sections of the loan applications and explained how and why those

10   misrepresentations were capable of influencing a decision to

11   lend.    (See Gov’t’s Opp’n at 3-7 (identifying the witnesses and

12   detailing their testimony).)

13              Nor was there a variance from the conspiracy charged in

14   the Third Superseding Indictment and the conspiracy proven at

15   trial.   The government charged and submitted sufficient evidence

16   to prove a single conspiracy lasting a little more than one year

17   in which the defendant worked with several individuals to submit

18   fraudulent loan applications in order to profit from the proceeds

19   of those loans.    Although all of the transactions were not

20   identical, there were common methods in all of them, such as
21   misinformation about a buyer’s ability to repay the loan and the

22   true purchase price of the home.         Defendant’s company, Diamond

23   Hill Financial, was also falsely identified as the employer for

24   the borrower in five of the six loan transactions.          There was

25   also sufficient evidence to tie the loans for the properties in

26   Chico to the other loans.
27              Accordingly, because the evidence before the jury was

28   more than sufficient to sustain defendant’s conviction and a new
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1    trial is not merited, the court will deny defendant’s motions.

2               IT IS THEREFORE ORDERED that defendant’s Rule 29(c)

3    motion for judgment of acquittal be, and the same hereby is,

4    DENIED; and defendant’s Rule 33 motion for a new trial be, and

5    the same hereby is, DENIED.

6    Dated:   September 8, 2014

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